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EXHIBIT A
Explanations to the April 2021 Operating Report (first operating report, period
04/14/2021 to 04/30/2021)
This April 2021 operating report is the first report to be filed for this case and
covers a partial month due to filing date being 04/14/2021.
Case number 21-60034 assigned to Judge Christopher M. Lopez, Southern District of Texas

Port Arthur Steam Energy, LP
P.O. Box 130
Port Arthur, T X 77641
Tax ID / EIN: 26-01021 27
________________________________________________________________________________

   Question 3. Have you paid all of your bills on time?
     Response: No
     Bank of America restricted the PASE checking account -6147 (the sole account) to credits only
     during the month of May 2021 and as of the time of this report has yet to convert PASE's
     checking account -6147 to a "Debtor in Possession" account. A court order is expected to
     cause Bank of America to complete the conversion of the account to DIP and allow PASE to
     resume paying bills.

   Question 4. Did you pay your employees on time?
     Response: No
     Payments were not made to employees on/after the filing date (April 14, 2021) due to Bank of
     America's mishandling of the PASE checking account as described above in question 3.
     Employees have not been fully paid for work performed or expenses incurred prior to the filing
     date (April 14, 2021).


   Payments owed to employees for April services before the filing date (April 14, 2021)
    Employee                      Service                     Period                        $ Owed
    Nathan Dickman                plant maintenance service   April 12, 2021            $     158.87

    Raymond Deyoe & Ted Boriack   plant management service    April 1 to 13, 2021       $ 16,250.00
    (Integral Power LLC)


   Payments owed to employees for April services on/after the filing date
    Employee                      Service                     Period                         $ Owed
    Nathan Dickman                plant maintenance service   April 14 to 25, 2021      $ 1,209.64
    Nathan Dickman                plant maintenance service   April 26 to May 9, 2021   $     952.00
    Raymond Deyoe & Ted Boriack   plant management service    April 14 to 30, 2021      $ 21,250.00
    (Integral Power LLC)
    Raymond Deyoe                 expense reimbursement       April 2021                $     959.99
    Ted Boriack                   expense reimbursement       April 2021                $ 1,038.48
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EXHIBIT A cont.

  Question 6. Have you timely filed your tax returns and paid all of your taxes?
    Response: No
    PASE had engaged BDO to prepare its annual IRS tax return just as in prior years. PASE was
    expecting to receive from BDO its tax return for year 2020 in early May 2021. However, BDO
    upon learning that PASE had filed Chapter 11 stopped work on the return for year 2020 and is
    referring PASE to a different accounting firm to prepare the 2020 tax return.

  Question 8. Are you current on your quarterly fee payments to the U.S.
  Trustee or Bankruptcy Administrator?
    Response: NA (there are no quarterly payments)

  Question 9. Have you timely paid all of your insurance premiums?
    Response: NA (there were no insurance premiums due)
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EXHIBIT B
Explanations to the April 2021 Operating Report (first operating report, period
04/14/2021 to 04/30/2021)
This April 2021 operating report is the first report to be filed for this case and
covers a partial month due to filing date being 04/14/2021.
Case number 21-60034 assigned to Judge Christopher M. Lopez, Southern District of Texas

Port Arthur Steam Energy, LP
P.O. Box 130
Port Arthur, T X 77641
Tax ID / EIN: 26-01021 27
________________________________________________________________________________

   Question 10. Do you have any bank accounts open other than the DIP
   accounts?
     Response: Yes
     As of the time of this report, PASE has only one bank account (-6147) which has been
     restricted to "credits only" by Bank of America. PASE is still waiting on Bank of America at the
     time of this report to convert the account to DIP, issue new DIP checks and remove the
     restriction so that PASE can resume paying bills.

   Question 11. Have you sold any assets other than inventory?
     Response: PASE has not sold assets during this reporting period of April 14 - 30 2021.
     PASE sold assets in April which resulted in payments to the PASE account -6174 which
     credited on April 1, 2021 ($32,500) and April 2, 2021 ($3,000).
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EXHIBIT C
Explanations to the April 2021 Operating Report (first operating report, period
04/14/2021 to 04/30/2021)
This April 2021 operating report is the first report to be filed for this case and
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Case number 21-60034 assigned to Judge Christopher M. Lopez, Southern District of Texas

Port Arthur Steam Energy, LP
P.O. Box 130
Port Arthur, T X 77641
Tax ID / EIN: 26-01021 27
________________________________________________________________________________

20. Total cash receipts
Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on receivables,
credit card deposits, cash received from other parties, or loans, gifts, or payments
made by other parties on your behalf. Do not attach bank statements in lieu of Exhibit
C.

Response: $0

PASE received no cash and made no deposits during the reporting period of April 14 - 30, 2021.
However, PASE did receive cash and make deposits to the PASE checking account (-6147) in April
prior to the filing date due to two asset sales completed on April 1, 2021 ($32,500) and April 2, 2021
($3,000) as shown in the attached bank statement.
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EXHIBIT D
Explanations to the April 2021 Operating Report (first operating report, period
04/14/2021 to 04/30/2021)
This April 2021 operating report is the first report to be filed for this case and
covers a partial month due to filing date being 04/14/2021.
Case number 21-60034 assigned to Judge Christopher M. Lopez, Southern District of Texas

Port Arthur Steam Energy, LP
P.O. Box 130
Port Arthur, T X 77641
Tax ID / EIN: 26-01021 27
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Question 21. Total cash disbursements
Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf.

Response: $0

The PASE checking account -6147 had no payments clear during the reporting period of April 14 -
30, 2021.

PASE issued no checks during the reporting period of April 14 - 30, 2021.

PASE is not aware of any outstanding checks which have not cleared the bank.
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EXHIBIT E
Explanations to the April 2021 Operating Report (first operating report, period
04/14/2021 to 04/30/2021)
This April 2021 operating report is the first report to be filed for this case and
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Case number 21-60034 assigned to Judge Christopher M. Lopez, Southern District of Texas

Port Arthur Steam Energy, LP
P.O. Box 130
Port Arthur, T X 77641
Tax ID / EIN: 26-01021 27
________________________________________________________________________________

Question 24. Total payables
Attach a list of all debts (including taxes) which you have incurred since the date you
filed bankruptcy but have not paid. Label it Exhibit E. Include the date the debt was
incurred, who is owed the money, the purpose of the debt, and when the debt is due.


Response: $32,923.35

Debts Incurred Since the Filing Date (April 14, 2021)
 Date Debt            $ Debt    Who is owed but not        Purpose                            When Debt
 Incurred             Amount    paid                                                          Due
 April 25, 2021   $ 1,209.64    Nathan Dickman             plant maintenance service          April 25, 2021
                                                           April 14 to 25, 2021
 May 1, 2021      $ 3,488.24    Blue Cross Blue Shield     medical insurance                  May 1, 2021
 May 1, 2021      $21,250.00    Integral Power, LLC        plant management service           May 1, 2021
                                (Ted Boriack, Ray Deyoe)   April 14 to 30, 2021
 May 1, 2021      $    959.99   Ray Deyoe                  expense reimbursement              May 1, 2021
 May 1, 2021      $ 1,038.48    Ted Boriack                expense reimbursement              May 1, 2021
 May 1, 2021      $    312.50   Dunn & Neal, L.L.P.        legal services-Montgomery County   May 18, 2021
 May 1, 2021      $ 1,467.50    Dunn & Neal, L.L.P.        legal services-other               May 18, 2021
 May 1, 2021      $ 2,050.00    Dunn & Neal, L.L.P.        legal services-Harris County       May 18, 2021
 May 1, 2021      $ 195.00      McMahan & McMahan          accounting service                 May 1, 2021
 May 9, 2021      $ 952.00      Nathan Dickman             plant maintenance service          May 9, 2021
                                                           April 26 to May 9, 2021
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EXHIBIT F
Explanations to the April 2021 Operating Report (first operating report, period
04/14/2021 to 04/30/2021)
This April 2021 operating report is the first report to be filed for this case and
covers a partial month due to filing date being 04/14/2021.
Case number 21-60034 assigned to Judge Christopher M. Lopez, Southern District of Texas

Port Arthur Steam Energy, LP
P.O. Box 130
Port Arthur, T X 77641
Tax ID / EIN: 26-01021 27
________________________________________________________________________________

Question 25. Total receivables
Attach a list of all amounts owed to you by your customers for work you have done or
merchandise you have sold. Include amounts owed to you both before, and after you
filed bankruptcy. Label it Exhibit F. Identify who owes you money, how much is owed,
and when payment is due.


Response: $ 163,332.19
PASE is owed $163,332.19 by Oxbow Calcining for delivery of electricity to Oxbow's plant during
February, March and April of year 2020. This amount has been owed by Oxbow to PASE both
before and after filing for bankruptcy. PASE has tried repeatedly to collect these extremely past due
bills but yet Oxbow still refuses to pay.

 PASE Invoice #     $ Amount Due       Due Date          Description
 G-2020-04          $ 54,122.64        June 13, 2020     Electric power to Oxbow plant for Apr 2020
 G-2020-03          $ 55,450.82        May 8, 2020       Electric power to Oxbow plant for Mar 2020
 G-2029-02          $ 53,758.73        April 3, 2020     Electric power to Oxbow plant for Feb 2020
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P.O. Box 15284
Wilmington, DE 19850
                                                                                            Customer service information


                                                                                            Customer service: 1.888.400.9009

                                                                                            bankofamerica.com
  PORT ARTHUR STEAM ENERGY LP
                                                                                            Bank of America, N.A.
  MANAGERS ACCOUNT
                                                                                            P.O. Box 831547
  2001 ADDISON ST STE 300                                                                   Dallas, TX 75283-1547
  BERKELEY, CA 94704-1165




Your Business Advantage Relationship Banking
for April 1, 2021 to April 30, 2021                                                   Account number:                         6147
PORT ARTHUR STEAM ENERGY LP                            MANAGERS ACCOUNT

Account summary
Beginning balance on April 1, 2021                                 $321,584.44    # of deposits/credits: 4
Deposits and other credits                                           35,500.00    # of withdrawals/debits: 13
Withdrawals and other debits                                        -37,695.00    # of items-previous cycle¹: 8
Checks                                                              -63,112.45    # of days in cycle: 30
Service fees                                                              -0.00   Average ledger balance: $268,920.68
Ending balance on April 30, 2021                                  $256,276.99     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 49 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: HOU                                                              Page 1 of 6
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PORT ARTHUR STEAM ENERGY LP | Account #              6147 | April 1, 2021 to April 30, 2021


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    –   Tell us your name and account number.
    –   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    –   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                            Your checking account
PORT ARTHUR STEAM ENERGY LP | Account #            6147 | April 1, 2021 to April 30, 2021




Deposits and other credits
Date        Description                                                                                             Amount

04/01/21    WIRE TYPE:WIRE IN DATE: 210401 TIME:1144 ET TRN:2021040100379683                                     15,000.00
            SEQ:20210910089500/000336 ORIG:CHEMQUEST CHEMICALS LLC ID:5500146435 SND BK:
            CADENCE BANK, NA ID:062206295 PMT DET:PORT ARTHUR STEAM ENERGY LP MANAGERS
            ACCOUNT

04/01/21    WIRE TYPE:WIRE IN DATE: 210401 TIME:1144 ET TRN:2021040100379815                                     15,000.00
            SEQ:20210910091700/000339 ORIG:CHEMQUEST CHEMICALS LLC ID:5500146435 SND BK:
            CADENCE BANK, NA ID:062206295 PMT DET:PORT ARTHUR STEAM ENERGY LP MANAGERS
            ACCOUNT

04/01/21    WIRE TYPE:WIRE IN DATE: 210401 TIME:1116 ET TRN:2021040100365916                                      2,500.00
            SEQ:20210910092600/000274 ORIG:CHEMQUEST CHEMICALS LLC ID:5500146435 SND BK:
            CADENCE BANK, NA ID:062206295 PMT DET:PORT ARTHUR STEAM ENERGY LP - MANAGERS
            ACCOUNT

04/02/21    Counter Credit                                                                                        3,000.00

Total deposits and other credits                                                                              $35,500.00



Withdrawals and other debits
Date        Description                                                                                             Amount

04/01/21    Online Banking transfer to CHK 2669 Confirmation# 3330647602                                        -37,500.00

04/08/21    MCMAHAN & MCMAHA DES:SALE          ID: INDN:PORT ARTHUR             CO ID:9215986202 CCD               -195.00

Total withdrawals and other debits                                                                           -$37,695.00




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PORT ARTHUR STEAM ENERGY LP | Account #                   6147 | April 1, 2021 to April 30, 2021



Checks
Date          Check #                                  Amount                    Date             Check #             Amount
04/07/21      1306                                 -1,000.00                     04/07/21         1313            -25,194.70
04/02/21      1307                                     -265.84                   04/07/21         1314              -1,066.35
04/05/21      1308                                 -1,011.59                     04/08/21         1315              -1,102.19
04/05/21      1309                                     -912.14                   04/12/21         1316               -317.14
04/07/21      1311*                                -1,425.00                     04/12/21         1317               -952.00
04/07/21      1312                               -29,865.50
                                                                                 Total checks                   -$63,112.45
                                                                                 Total # of checks                        11
* There is a gap in sequential check numbers



Daily ledger balances
Date                              Balance ($)   Date                                 Balance($)     Date           Balance ($)

04/01                           316,584.44      04/05                             317,394.87        04/08         257,546.13
04/02                           319,318.60      04/07                             258,843.32        04/12         256,276.99




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PORT ARTHUR STEAM ENERGY LP | Account #     6147 | April 1, 2021 to April 30, 2021


Check images
Account number:               6147
Check number: 130            t: $1,000.00                Check number: 1307 | Amount: $265.84




Check number: 1308 | Amount: $1,011.59                   Check number: 1309 | Amount: $912.14




Check number: 1311 | Amount: $1,425.00                   Check number: 1312 | Amount: $29,865.50




Check number: 1313 | Amount: $25,194.70                  Check number: 1314 | Amount: $1,066.35




Check number: 1315 | Amount: $1,102.19                   Check number: 1316 | Amount: $317.14




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PORT ARTHUR STEAM ENERGY LP | Account #   6147 | April 1, 2021 to April 30, 2021


Check images - continued
Account number:               6147
Check number: 131            t: $952.00




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                                             Port Arthur Steam Energy, LP
                                                              Profit and Loss
                                                                 April 2021


                                                                                                          TOTAL
Income
 40800 Asset Disposal                                                                                  35,500.00
Total Income                                                                                          $35,500.00
GROSS PROFIT                                                                                          $35,500.00
Expenses
 50000 Plant O&M Expenses
  50100 Plant Office Expenses
  50110 Plant Office Contract Services                                                                    195.00
  Total 50100 Plant Office Expenses                                                                       195.00
  50700 Plant Professional Services
  50710 Predictive Maintenance                                                                          2,181.28
  Total 50700 Plant Professional Services                                                               2,181.28
 Total 50000 Plant O&M Expenses                                                                         2,376.28
 61010 Depreciation Expense                                                                            42,855.31
 70000 SG&A Expenses
  70200 Integral Power Expenses
  70220 IP Travel                                                                                         193.80
  70230 IP Office Expenses                                                                              2,986.33
  Total 70200 Integral Power Expenses                                                                   3,180.13
  70210 Integral Power Fees                                                                            37,500.00
 Total 70000 SG&A Expenses                                                                             40,680.13
 82000 Oxbow Legal                                                                                     56,751.04
Total Expenses                                                                                       $142,662.76
NET OPERATING INCOME                                                                                $ -107,162.76
NET INCOME                                                                                          $ -107,162.76




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                                                                    Port Arthur Steam Energy, LP

                                                         1020 Manager's Account, Period Ending 04/30/2021

                                                                      RECONCILIATION REPORT

                                                                        Reconciled on: 05/20/2021

                                                                      Reconciled by: Wes McMahan

  Any changes made to transactions after this date aren't included in this report.

  Summary                                                                                                                           USD

  Statement beginning balance                                                                                                  321,584.44
  Checks and payments cleared (13)                                                                                            -100,807.45
  Deposits and other credits cleared (4)                                                                                        35,500.00
  Statement ending balance                                                                                                     256,276.99

  Register balance as of 04/30/2021                                                                                            256,276.99



  Details

  Checks and payments cleared (13)

  DATE                             TYPE                              REF NO.                        PAYEE                  AMOUNT (USD)
  03/31/2021                       Check                             1306                           Kevin McFarland             -1,000.00
  04/01/2021                       Expense                                                          Integral Power, LLC        -37,500.00
  04/02/2021                       Check                             1307                           Cloud9 Discovery LLC          -265.84
  04/05/2021                       Check                             1309                           Nathan Dickman                -912.14
  04/05/2021                       Check                             1308                           Ray Deyoe                   -1,011.59
  04/07/2021                       Check                             1312                           Dunn & Neal LLP            -29,865.50
  04/07/2021                       Check                             1314                           Ted Boriack                 -1,066.35
  04/07/2021                       Check                             1313                           Dunn & Neal LLP            -25,194.70
  04/07/2021                       Check                             1311                           Dunn & Neal LLP             -1,425.00
  04/08/2021                       Expense                                                          McMahan & McMahan             -195.00
  04/08/2021                       Check                             1315                           Ray Deyoe                   -1,102.19
  04/12/2021                       Check                             1317                           Nathan Dickman                -952.00
  04/12/2021                       Check                             1316                           Nathan Dickman                -317.14

  Total                                                                                                                     -100,807.45


  Deposits and other credits cleared (4)

  DATE                             TYPE                              REF NO.                        PAYEE                  AMOUNT (USD)
  04/01/2021                       Deposit                                                                                      15,000.00
  04/01/2021                       Deposit                                                                                      15,000.00
  04/01/2021                       Deposit                                                                                       2,500.00
  04/02/2021                       Deposit                                                                                       3,000.00

  Total                                                                                                                       35,500.00




                                                                                                                                        1/1
